       Case 1:23-cv-00499-MIS-JMR Document 85-1 Filed 01/03/24 Page 1 of 1
Appellate Case: 23-2158 Document: 010110978017 Date Filed: 01/03/2024 Page: 1
                                                                                      FILED
                                                                          United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                             Tenth Circuit

                              FOR THE TENTH CIRCUIT                               January 3, 2024
                          _________________________________
                                                                                Christopher M. Wolpert
                                                                                    Clerk of Court
 JAMES SPRINGER,

       Plaintiff - Appellant,

 v.                                                           No. 23-2158
                                                  (D.C. No. 1:23-CV-00499-MIS-JMR)
 SEVENTH JUDICIAL DISTRICT                                     (D. N.M.)
 COURT; MERCEDES MURPHY;
 SHANNON MURDOCK-POFF; JASON
 JONES; SUSAN ROSSIGNOL,

       Defendants - Appellees.
                       _________________________________

                                       ORDER
                          _________________________________

        This matter is before the court on Appellant’s Motion to Voluntarily Dismiss.

 Upon consideration, the motion is granted. See 10th Cir. R. 27.5(A)(9) and Fed. R. App.

 P. 42(b).

        A copy of this order shall stand as and for the mandate of the court.


                                              Entered for the Court



                                              CHRISTOPHER M. WOLPERT, Clerk
